Case 22-50073        Doc 4129       Filed 02/20/25       Entered 02/20/25 11:38:28            Page 1 of 4




                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT
                                 BRIDGEPORT DIVISION



    IN RE:                                                           Chapter 11
    HO WAN KWOK, et al.,                                             Case No. 22-50073 (JAM)
    Debtors.1                                                        (Jointly Administered)




    LUC A. DESPINS, CHAPTER 11 TRUSTEE                               Adv. Proc. No. 24-05056 (JAM)
    Plaintiff,
    —v.—
    FFP (BVI) LIMITED,
    Defendant.

                                                                     February 20, 2025


                                        NOTICE OF APPEAL

           PLEASE TAKE NOTICE that pursuant to Fed. R. Bankr. P. 8001 et seq., FFP (BVI)

Limited (“FFP”), the defendant in the above-captioned adversary proceeding, hereby files notice

of its appeal from the Bankruptcy Court’s February 14, 2025 Order Granting In Part Third Motion

For Extension of Deadline for Trustee to File Avoidance Actions, filed in the above-captioned

bankruptcy case, Case No. 22-50073, (the “Kwok Case”) at ECF No. 4106 (the “Ruling”), granting

the Trustee, Luc A. Despins, Chapter 11 Trustee’s (the “Trustee”) Second Supplemental Motion


1
  The Debtors in the main Chapter 11 case are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
Kwok) (last four digits of tax identification number: 9595), Genever Holdings LLC (last four digits of tax
identification number: 8202) and Genever Holdings Corporation. The mailing address for the Trustee, Genever
Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park Avenue, New York, NY 10166
c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok.

{00403261.1 }
Case 22-50073       Doc 4129      Filed 02/20/25      Entered 02/20/25 11:38:28     Page 2 of 4




of Chapter 11 Trustee To Extend February 15, 2025 Deadline For Trustee To File Avoidance

Actions (the “Third Extension Motion”), filed in the Kwok Case at ECF No. 4004 and in the above-

captioned adversary proceeding, Adv. Pro. No. 24-05056 (the “Adversary Proceeding”) at ECF

No. 33. A copy of the Ruling is attached hereto as Exhibit A.

         To be clear, the Third Extension Motion was docketed in both the Kwok Case and in the

Adversary Proceeding. FFP’s objection to the Third Extension Motion entitled Objection and

Memorandum of Law in Opposition to Second Supplemental Motion of Chapter 11 Trustee to

Extend February 15, 2025 Deadline for Trustee to File Avoidance Actions was docketed in the

Adversary Proceeding, at ECF No. 36. The Ruling was not filed in the Adversary Proceeding.

         Nothing in this Notice of Appeal shall be construed to waive any defenses of FFP,

including as to jurisdiction, venue, or any other rights.

         The names of all parties to the Court’s order appealed from and the names, addresses and

telephone numbers of their respective attorneys are as follows:




 Jeffrey M. Sklarz (ct20938)                Representing FFP (BVI) LIMITED
 Kellianne Baranowsky (ct26684)                          2nd Floor, Water’s Edge Building
 Michelle A. Antao (ct31715)                             P.O. Box 2429
 Green & Sklarz LLC                                      Wickhams Cay II
 One Audubon Street, 3rd Floor                           Tortola, VG1110
 New Haven, CT 06511                                     Party-in-Interest and Appellant
 (203) 285-8545
 jsklarz@gs-lawfirm.com
 kbaranowsky@gs-lawfirm.com
 mantao@gs-lawfirm.com


 *****************************

                                                  2
{00403261.1 }
Case 22-50073      Doc 4129      Filed 02/20/25   Entered 02/20/25 11:38:28        Page 3 of 4




 Douglas S. Skalka (ct00616)            Representing Luc A. Despins, Chapter 11 Trustee
 Patrick R. Linsey (ct29437)                         PAUL HASTINGS LLP
 NEUBERT, PEPE & MONTEITH,                           200 Park Avenue
 P.C.                                                New York, New York 10166
 195 Church Street, 13th Floor New
 Haven, Connecticut 06510                             Chapter 11 Trustee and Appellee
 (203) 781-2847
 dskalka@npmlaw.com
 plinsey@npmlaw.com

 and

 Nicholas A. Bassett (pro hac vice)
 PAUL HASTINGS LLP
 2050 M Street NW
 Washington, D.C., 20036
 (202) 551-1902
 nicholasbassett@paulhastings.com

 and

 Douglass Barron (pro hac vice)
 PAUL HASTINGS LLP
 200 Park Avenue
 New York, New York 10166
 (212) 318-6079
 douglassbarron@paulhastings.com

 Counsel for the Chapter 11 Trustee

                                                  FFP (BVI) LIMITED

                                           By:    /s/ Michelle A. Antao
                                                  Jeffrey M. Sklarz (ct20938)
                                                  Kellianne Baranowsky (ct26684)
                                                  Michelle A. Antao (ct31715)
                                                  Green & Sklarz LLC
                                                  One Audubon Street, 3rd Floor
                                                  New Haven, CT 06511
                                                  (203) 285-8545
                                                  jsklarz@gs-lawfirm.com
                                                  kbaranowsky@gs-lawfirm.com
                                                  mantao@gs-lawfirm.com
                                              3
{00403261.1 }
Case 22-50073        Doc 4129      Filed 02/20/25      Entered 02/20/25 11:38:28           Page 4 of 4




                                  CERTIFICATE OF SERVICE

         I hereby certify that on the date set forth below a copy of the foregoing was served by CM/ECF

and/or mail on anyone unable to accept electronic filing. Notice of this filing will be sent by email to

all parties by operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing through

the Court’s CM/ECF System.



Date: February 20, 2025                                  /s/ Michelle A. Antao




                                                   4
{00403261.1 }
